     Case 3:20-cv-07437-EMC             Document 139     Filed 05/03/23      Page 1 of 3



 1                                UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3                                      SAN FRANCISCO DIVISION
 4

 5   ELENA NACARINO, on behalf of herself and all          STIPULATION OF VOLUNTARY
     others similarly situated,                            DISMISSAL
 6
                           Plaintiff,                       Case No.     20-cv-7437-EMC
 7
            v.
 8
     CHOBANI LLC,
 9
                           Defendant.
10

11
            IT IS HEREBY STIPULATED AND AGREED by and between the parties, through their
12

13   undersigned counsel, that the above-captioned action is voluntarily dismissed, with prejudice

14   against Defendant Chobani, LLC pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii),

15   with each party bearing its own costs, expenses, and attorney’s fees.
16   Dated: May 3, 2023
17

18

19

20

21

22

23

24

25

26

27

28

     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO. 20-CV-7437-EMC
                                                                                                     1
     Case 3:20-cv-07437-EMC          Document 139    Filed 05/03/23   Page 2 of 3



 1    REESE LLP                                     MORRISON & FOERSTER LLP

 2    /s/ Sue J. Nam                                 /s/ Claudia M. Vetesi
      Sue J. Nam                                     Claudia M. Vetesi
 3    Michael R. Reese                               Lena Gankin
      100 West 93rd Street, 16th Floor               425 Market Street
 4    New York, New York 10025                       San Francisco, CA 94105
      Phone: (212) 643-0500                          Phone: (415) 268-7000
 5    Facsimile: (212) 253-4272                      Facsimile: (415) 268-7522
      Emails: mreese@reesellp.com                    Emails: CVetesi@mofo.com
 6    snam@reesellp.com                              LGankin@mofo.com

 7    George V. Granade                              Jamie A. Levitt
      8484 Wilshire Boulevard, Suite 515             250 West 55th Street
 8    Los Angeles, California 90211                  New York, New York 10019-9601
      Telephone: (310) 393-0070                      Phone: (212) 468-8203
 9    ggranade@reesellp.com                          Facsimile: (212) 468-7900
                                                     Email: jlevitt@mofo.com
10    Kate Stoia
      4030 23rd Street
11    San Francisco, California 94114
      Telephone: (415) 260-0147                      Attorneys for Chobani, LLC
12    kstoia@reesellp.com

13
      SHEEHAN & ASSOCIATES, P.C.
14
      /s/ Spencer Sheehan
15
      Spencer Sheehan
16    60 Cuttermill Rd Ste 409
      Great Neck, NY 11021
17    Office: (516) 268-7080
      Facsimile: (516) 234-7800
18
      Email: spencer@spencersheehan.com
19

20
      Attorneys for Plaintiff Elena Nacarino
21

22

23

24

25

26

27

28

     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO. 20-CV-7437-EMC
                                                                                     2
     Case 3:20-cv-07437-EMC           Document 139        Filed 05/03/23      Page 3 of 3



 1                               ATTESTATION OF E-FILED SIGNATURE

 2            I, Sue J. Nam, am the ECF User whose ID and password are being used to file this

 3   Stipulation. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that the other signatories have

 4   concurred in this filing.

 5   Dated:         May 3, 2023                           /s/ Sue J. Nam
                                                           SUE J. NAM
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO. 20-CV-7437-EMC
                                                                                                        3
